Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 1 of 34 Page ID #:175




1    Brandon J. Witkow (SBN 210443)
2    bw@witkowlaw.com
     Erin C. Witkow (SBN 216994)
3    ew@witkowlaw.com
4    Cory A. Baskin (SBN 240517)
     cb@witkowlaw.com
5    witkow | baskin
6    21031 Ventura Boulevard, Suite 700
     Woodland Hills, California 91364
7    Tel: 818.296.9508
8    Fax: 818.296.9510

9    Attorneys for Defendant
10   LIN’S WAHA INTERNATIONAL CORP.

11                      UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13

14   OCM GROUP USA INC.,                   Case No. 2:19-cv-08917 SB (KSx)
15
                            Plaintiff,     NOTICE OF MOTION AND
16                                         MOTION FOR SUMMARY
17         vs.                             JUDGMENT ON PLAINTIFF’S
                                           COMPLAINT; OR, IN THE
18   LIN’S WAHA INTERNATIONAL              ALTERNATIVE, SUMMARY
19   CORP, a New York corporation; and     JUDGMENT ON PLAINTIFF’S
     DOES 1-10.                            CLAIM FOR MONETARY
20                                         DAMAGES; MEMORANDUM OF
21                          Defendant.     POINTS & AUTHORITIES IN
                                           SUPPORT THEREOF
22

23                                         Hearing:
24
                                           Date: March 5, 2021
25                                         Time: 8:30 a.m.
                                           Ctrm: 6C
26

27

28


                            MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 2 of 34 Page ID #:176




1    TO PLAINTIFF AND ITS ATTORNEY OF RECORD:
2         PLEASE TAKE NOTICE that on March 5, 2021 at 8:30 a.m. or as soon
3    thereafter as the matter may be heard in Courtroom 6C of the United States District
4    Court for the Central District of California, located at 350 W. 1st Street, Courtroom
5    6C, 6th Floor, Los Angeles, California 90012, Defendant Lin’s Waha International
6    Corp. (“Defendant”), will and hereby does move this Court for summary judgment
7    against Plaintiff OCM Group USA, Inc. (“Plaintiff”) on the ground that there is no
8    genuine issue of material fact and that Defendant is entitled to judgment as a matter
9    of law on Counts One and Two of Plaintiff’s Complaint for (a) trademark
10   infringement under the Lanham Act, and (b) unfair competition under state or federal
11   common law. Alternatively, Defendant moves this Court for summary judgment on
12   Plaintiff’s claim for monetary damages for trademark infringement.
13        The grounds for Plaintiff’s Motion as to Plaintiff’s Count One for trademark
14   infringement under the Lanham Act is that Plaintiff’s claim is barred by the First Sale
15   Doctrine. Namely, there is no dispute that the products at issue sold by Defendant are
16   genuine products bearing authentic trademarks, and are manufactured in China by
17   the same entities that manufacture Plaintiff’s products bearing the trademarks at issue.
18   Because the products sold by Defendant are genuine products derived from the
19   identical source as Plaintiff’s products, there can be no likelihood of consumer
20   confusion as to the source of Defendant’s products, which is an essential element of
21   trademark infringement. Under the First Sale Doctrine, Plaintiff cannot look to
22   trademark law to control the downstream distribution of genuine products, regardless
23   of Plaintiff’s alleged status as an exclusive distributor of those products. Because
24   summary judgment is appropriate on its claim for trademark infringement, summary
25   judgment is also appropriate on Plaintiff’s claim for unfair competition, which is
26   predicated on its failed trademark claim.
27        Defendant alternatively moves for summary judgment on Plaintiff’s claim for
28   monetary damages for trademark infringement on the grounds that Plaintiff cannot
                                             1
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 3 of 34 Page ID #:177




1    provide evidence sufficient to create a triable issue of fact with respect to either Lin’s
2    Waha’s profits or its own actual damages; thus summary judgment on both is
3    appropriate. Specifically, Plaintiff cannot create a genuine issue of fact with respect
4    to the required showing of willfulness; thus, summary judgment on its claim for
5    disgorgement of Defendant’s profits is warranted. Additionally, Plaintiff cannot
6    create a genuine issue of fact with respect to Plaintiff’s actual damages, as it has no
7    competent evidence of any actual loss and/or that Plaintiff and Defendant directly
8    compete.
9          This motion is made following the conference of counsel under L.R. 7.3, which
10   took place on December 17, 2020.
11         This motion is based on this Notice of Motion and Motion, and the
12   Memorandum of Points and Authorities filed herewith, on the Statement of
13   Uncontroverted Facts and Conclusions of Law, and the Declarations of Qixuing Lin,
14   Linpan Deng and Brandon J. Witkow, together with the exhibits thereto, all filed
15   concurrently herewith, on all pleadings and papers on file in this action and upon such
16   other matters as may be presented to the Court at the time of the hearing.
17

18   Dated: January 28, 2021                       Respectfully submitted,
19
                                                   witkow | baskin
20

21                                                 By: /s/ Brandon J. Witkow
                                                   Brandon J. Witkow
22

23                                                 Attorneys for Defendant
                                                   LIN’S WAHA INTERNATIONAL
24                                                 CORP.
25

26

27

28

                                              2
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 4 of 34 Page ID #:178




1                                           TABLE OF CONTENTS
2                                                                                                                        Page
3    I.    INTRODUCTION ........................................................................................... 1
4    II.   FACTUAL BACKGROUND ......................................................................... 2
5          A.      Lin’s Waha’s Sale of Genuine Asian Food and Beverage Products in
6                  the United States ................................................................................... 2
7          B.      OCM’s Allegations of Trademark Infringement .................................. 3
8          C.      The Products at Issue Sold by Lin’s Waha Were Genuine and Were
9                  Not Materially Different Than Those Sold by OCM ............................ 4
10         D.      Lin’s Waha Ceased Distribution of the Products at Issue Following
11                 OCM’s Cease and Desist Demands ...................................................... 7
12         E.      OCM Has Failed to Produce Any Evidence Supporting its Claim for
13                 Damages for Trademark Infringement .................................................. 7
14   III. SUMMARY JUDGMENT/ADJUDICATION IS WARRANTED .............. 10
15   IV. LEGAL ARGUMENT .................................................................................. 11
16         A.      OCM’s Trademark Infringement Claim is Barred By the First Sale
17                 Doctrine ............................................................................................... 11
18         B.      Given That OCM Cannot Prevail on its Claim for Trademark
19                 Infringement, Summary Judgment is Also Warranted on its Claim for
20                 Common Law Unfair Competition ..................................................... 18
21         C.      To the Extent Plaintiff’s Claims Survive, Summary Judgment Should
22                 Be Granted Against OCM On Its Claim for Monetary Damages ....... 19
23                 1.       There is No Triable Issue of Fact With Respect to Willfulness
24                          and, Therefore, OCM Cannot Recover Lin’s Waha’s Profits .. 19
25                 2.       There is No Triable Issue of Fact With Respect to OCM’s
26                          Actual Damages ........................................................................ 22
27   V.    CONCLUSION ............................................................................................. 25
28

                                                      i
                                        MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 5 of 34 Page ID #:179




1                                         TABLE OF AUTHORITIES
2    Cases                                                                                                    Page(s)
3    Adaptive Marketing LLC v. Girard Gibbs LLP,
4
       2009 WL 8464168 (C.D. Cal., Oct. 9, 2009) ..................................................... 19

5    Amer. Auto. Assoc. (“AAA”) of Northern Calif., Nevada & Utah v. General
      Motors LLC,
6
      367 F.Supp.3d 1072 (N.D. Cal. 2019)........................................ 20, 21, 22, 23, 24
7
     Beltronics USA, Inc. v. Midwest Inventory Dist., LLC,
8      562 F.3d 1067 (10th Cir. 2009) .............................................................. 11, 12, 13
9
     Blau v. YMI Jeanswear, Inc.,
10     2004 WL 5313967 (C.D. Cal. Jan. 2, 2004) ........................................... 22, 24, 25
11   Brookfield Communications, Inc. v. West Coast Entertainment Corp.,
12     174 F.3d 1036 (9th Cir. 1999) ............................................................................ 19

13   Celotex Corp. v. Catrett,
       477 U.S. 317 (1986)...................................................................................... 10, 11
14

15   Cleary v. News Corp.,
       30 F.3d 1255 (9th Cir. 1994) .............................................................................. 18
16
     Comm. for Idaho’s High Desert, Inc. v. Yost,
17
      92 F.3d 814 (9th Cir. 1996) ................................................................................ 23
18
     Conversive , Inc. v. Conversagent, Inc.,
19    433 F.Supp.2d 1079 (C.D. Cal. 2006) ................................................................ 19
20
     Coty Inc. v. Cosmopolitan Cosmetics Inc.,
21    432 F.Supp.3d 345 (S.D.N.Y. 2020) .................................................................. 16
22   Davidoff & CIE, S.A. v. PLD Int’l Corp.,
23    263 F.3d 1297 (11th Cir. 2001) .............................................................. 11, 12, 13
24   E. & J. Gallo Winery v. Gallo Cattle Co.,
       967 F.2d 1280 (9th Cir. 1992) ............................................................................ 11
25

26   Fair Wind Sailing, Inc. v. Dempster,
       764 F.3d 303 (3d Cir. 2014) ............................................................................... 22
27
     Ferrero U.S.A., Inc. v. Ozak Trading, Inc.,
28
       952 F.2d 44 (3d Cir. 1991) ................................................................................. 22
                                                      ii
                                        MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 6 of 34 Page ID #:180




1    Gasaway v. Northwestern Mut. Life Ins. Co.,
2
      26 F.3d 957 (9th Cir. 1994) ................................................................................ 11

3    George Basch Co., Inc. v. Blue Coral, Inc.,
      968 F.2d 1532 (2d Cir. 1992) ............................................................................. 20
4

5    Glow Indus., Inc. v. Lopez,
       252 F. Supp. 2d 962 (C.D. Cal. 2002) ................................................................ 18
6
     Govino LLC v. Goverre, Inc.,
7
      2018 WL 7348849 (C.D. Cal. Nov. 20, 2018) ................................................... 20
8
     Graham Webb Intern. Ltd. Partnership v. Emporium Drug Mart, Inc.,
9     916 F.Supp.909 (E.D. Ark. 1995)....................................................................... 16
10
     Groupion, LLC v. Groupon, Inc.,
11    826 F.Supp.2d 1156 (N.D. Cal. 2011).................................................... 21, 22, 24
12   Henry v. Chloride, Inc.,
13    809 F.2d 1334 (8th Cir. 1987) ............................................................................ 13

14   Hydramedia Corp. v. Hydra Media Grp. Inc.,
      392 F.App’x 522 (9th Cir. 2010) ........................................................................ 20
15

16   Iberia Foods Corp. v. Romero,
       150 F.3d 298 (3d Cir. 1998) ............................................................. 12, 13, 16, 17
17
     JIPC Management, Inc. v. Incredible Pizza Co., Inc.,
18
       2009 WL 10671438 (C.D. Cal. June 24, 2009) .................................................. 25
19
     Lindy Pen Co. v. Bic Pen Corp.,
20     982 F.2d 1400 (9th Cir. 1993) ............................................................................ 20
21
     Luxottica Group, S.p.A. v. Eye Story, Inc.,
22     2020 WL 2404913 (C.D. Cal. May 11, 2020) .................................................... 18
23   Mallard Creek Industries, Inc. v. Morgan,
24    56 Cal. App.4th 426 (1997) ................................................................................. 18
25   McClaran v. Plastic Idus., Inc.,
      97 F.3d 347 (9th Cir. 1996) ................................................................................ 23
26

27   Moa Moa, Inc. v. New Moa Collection,
      2019 WL 8112468 (C.D. Cal. Aug. 30, 2019) ................................................... 22
28

                                                     iii
                                       MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 7 of 34 Page ID #:181




1    Monte Carlo Shirt, Inc. v. Daewoo Intern. (America) Corp.,
2
      707 F.2d 1054 (9th Cir. 1983) ...................................................................... 12, 15

3    NEC Elecs. V. CAL Circuit Abco,
      810 F.2d 1506 (9th Cir. 1987) ................................................................ 11, 12, 14
4

5    Original Appalachian Artworks v. Granada Elec.,
      816 F.2d 68 (2d Cir. 1987) ........................................................................... 15, 18
6
     Polymer Tech. Corp. v. Mimran,
7
       37 F.3d 74 (2d Cir. 1994) ................................................................................... 12
8
     San Miguel Pure Foods Co., Inc. v. Ramar Inter. Corp.,
9      625 F.App’x 322 (9th Cir. 2015) .................................................................. 20, 22
10
     Sansi North America, LLC v. LG Elec. USA, Inc.,
11     2019 WL 8168069 (C.D. Cal. Nov. 14, 2019) ............................................. 19, 20
12   Sebastian Int’l, Inc. v. Longs Drug Stroes Corp.,
13     53 F.3d 1073 (9th Cir. 1995) .................................................................. 12, 14, 18

14   Societe Des Produits Nestle, S.A. v. Casa Helvetia, Inc.,
       982 F.2d 633 (1st Cir. 1992)......................................................................... 13, 15
15

16   Spin Master Ltd. v. Zobmondo Entm’t, LLC,
       944 F.Supp.2d 830 (C.D. Cal. 2012) .................................................................. 20
17
     Stone Creek, Inc. v. Omnia Italian Design, Inc.,
18
       875 F.3d 426 (9th Cir. 2017) .............................................................................. 19
19
     Strike It Rich, Inc. v. Joseph Schlitz Brewing Co.,
20     505 F.Supp.89 (D.D.C. 1980)............................................................................. 23
21
     Summit Tech., Inc. v. High-Line Med. Instr. Co., Inc.
22     922 F.Supp.299 (C.D. Cal. 1996) ............................................... 11, 12, 13, 14, 15
23   tagTrends, Inc. v. Nordstrom, Inc.,
24     2014 WL 12561604 (C.D. Cal. Sept. 30, 2014) ................................................. 24
25   The Apollo theater Found., Inc. v. Western Inter. Syndication,
       2005 WL 1041141 (S.D.N.Y. 2005) .................................................................. 24
26

27   U.S. v. Giles,
       213 F.3d 1247 (10th Cir. 2000) .......................................................................... 12
28

                                                      iv
                                        MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 8 of 34 Page ID #:182




1    STATUTES
2    15 U.S.C. § 1114 .................................................................................................... 11
3
     15 U.S.C. § 1117(a) .......................................................................................... 19, 20
4
     Cal. Bus. & Prof. Code § 17200....................................................................... 18, 19
5

6    Fed. R. civ. P. 12(b)(6) ........................................................................................... 14

7    Fed. R. Civ. P. § 26(e) ............................................................................................ 21
8    Fed. R. Civ. P. § 56 ................................................................................................ 10
9
     Fed. R. Civ. P. § 56(e) ............................................................................................ 11
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                        v
                                          MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 9 of 34 Page ID #:183




1                 MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         In this trademark infringement action, Plaintiff OCM Group USA, Inc.
4    (“OCM”) claims that Defendant Lin’s Waha International Corp. (“Lin’s Waha”)
5    violated the Lanham Act and committed unfair competition by selling genuine goods
6    bearing authentic trademarks which were manufactured by and purchased from the
7    exact same manufacturers from which OCM purchased the products it sells. As
8    explained herein, both OCM and Lin’s Waha purchase various Asian beverage
9    products from two manufacturers in China, which neither party alters prior to their
10   sale in the United States. Indeed, OCM concedes that Lin’s Waha’s products are
11   genuine and from the same manufacturer as its products, and OCM has not identified
12   any material differences between the products it sells that would be relevant to a
13   consumer’s purchasing decision. Instead, OCM claims that because it is the purported
14   “exclusive distributor” of these products in the United States, any sale by Lin’s Waha
15   of these products constitutes trademark infringement. That simply is not the law.
16        To the contrary, the Ninth Circuit and this Court have made clear that when a
17   party sells genuine goods in the United States – even without approval from the
18   trademark owner – there can be no likelihood of consumer confusion and any claims
19   of trademark infringement are defeated under the First Sale Doctrine. Because there
20   is no question that Lin’s Waha’s goods are genuine, it cannot be liable for trademark
21   infringement or unfair competition and summary judgment is appropriate.
22        To the extent this Court is not inclined to dismiss OCM’s claims in their entirety,
23   summary judgment on OCM’s claims for lost profits and actual damages is warranted.
24   First, under Ninth Circuit law, disgorgement of profits is only warranted when there
25   has been a finding of willfulness. Here, OCM has not and cannot point to any
26   evidence establishing willfulness by Lin’s Waha. In fact, the only “evidence” it has
27   produced is its single cease and desist letter with which Lin’s Waha complied
28   promptly, despite its well-founded belief that its sale of genuine goods was
                                             1
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 10 of 34 Page ID #:184




 1   permissible under the law. Second, OCM has produced no competent evidence of
 2   any actual damages (i.e., loss of revenue, loss of customers, loss of goodwill) as a
 3   result of Lin’s Waha’s actions. Instead, OCM makes the baseless and nonsensical
 4   assumption that it would have sold the exact same amount of products that Lin’s Waha
 5   sold, despite the fact that OCM does not even operate in nine of the states in which
 6   Lin’s Waha sold the products at issue, and there is very little geographic overlap in
 7   the only two states in which both parties sold their products. Once again, OCM
 8   ignores patently applicable caselaw requiring a trademark plaintiff to prove some
 9   actual loss before the court will award actual damages. Thus, summary judgement
10   on OCM’s claim for actual damages is also appropriate.
11   II.   FACTUAL BACKGROUND
12         A. Lin’s Waha’s Sale of Genuine Asian Food and Beverage Products in
13
              the United States

14         Lin’s Waha began operations in July 2011 after identifying a need for the
15   importation of genuine Asian food products to local and family-owned markets
16   serving Asian-American communities in the United States. [See Declaration of
17   Xiuqing Lin (“Lin Decl.”), at ¶ 3.] The customers of these markets typically are
18   immigrants and second/third generation families from China and other Asian
19   countries, familiar with authentic food brands from their youth and/or while living or
20   working in these countries and which are not carried in traditional U.S. supermarkets.
21   [Lin Decl., ¶ 3.] Currently, Lin’s Waha imports approximately 600 genuine food and
22   beverage products purchased from food manufacturers and food distributors in China,
23   Malaysia, Taiwan, and Thailand. [Statement of Uncontroverted Facts (“SUF”) 1].
24   With respect to Chinese food and beverage products, Lin’s Waha purchases such
25   products through its wholly-owned affiliate in China, Fujian Lins HengFa
26   International Trade Co., Ltd. (“Fujian”), which then exports these products to Lin’s
27   Waha in the United States. [SUF 2]. When Lin’s Waha receives these genuine
28   products they are packaged and sealed, and Lin’s Waha makes no changes or

                                             2
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 11 of 34 Page ID #:185




 1   alterations to either the contents, packaging, or label of these products prior to their
 2   sale in the United States, other than to add an English-language nutritional label
 3   sticker to the packaging, as required by the U.S. Food, Drug and Cosmetic Act (“FDA
 4   Act”). [SUF 3]. Lin’s Waha has sold its products to approximately 450 markets in 34
 5   different states—primarily local, family-owned markets based in Asian-American
 6   communities. [SUF 4].
 7        B. OCM’s Allegations of Trademark Infringement
 8          OCM alleges that it is “generally in the merchandising business related to
 9   grocery products” and it “makes purchases from suppliers and sells to retailers,
10   grocery stores or supermarkets in [sic] U.S.” [SUF 5]. It further alleges that it is the
11   “exclusive distributor” and “exclusive US licensee” of “certain brands’ [sic] of
12   grocery products”, including: XIANGPIAOPIAO, MECO, and LAN FONG YUEN.
13   [SUF 6]. OCM alleges that these “brands” are the subject of four separate trademark
14   registrations with the United States Patent and Trademark Office (“USPTO”): for
15   XIANG PIAO PIAO issued to XiangPiaoPiao Food Co., Ltd. (“XPP”) in Classes 29
16   & 32, for MECO issued to XPP in Classes 29 & 40, for MECO issued to XPP in Class
17   30, and for LANG FONG YUEN issued to Lan Fong Yuen Food Co., Ltd. (“Lan Fong
18   Yuen”) in Classes 29 & 32 (collectively, “Trademarks at Issue”). [SUF 7]. OCM
19   produced a document that purports to be an “exclusive distribution” agreement with
20   XPP, which is effective as of July 1, 2018. [SUF 8].
21         OCM asserts two claims against Lin’s Waha for trademark infringement and
22   common law unfair competition, alleging that Lin’s Waha “impermissibly makes,
23   uses, imports, sells and/or offers to sell” the following products:
24    •   XIANGPIAOPIAO Teas: Dasheen [Taro] Milk Tea, Strawberry Milk Tea,
25        Wheat Milk Tea, Original Milk Tea flavors.
26    •   MECO Teas: Kumquat & Lemon, Thai Lime, Peach & Pink Grapefruit & Milk
27        Tea flavors.
28    •   LAN FONG YUEN Milk Tea (hereafter referred to as the “Products at Issue”).
                                             3
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 12 of 34 Page ID #:186




 1   [SUF 9]. OCM alleges that it sent Lin’s Waha a cease and desist letter on July 19,
 2   2019, and that Lin’s Waha purportedly “did not respond, nor did it attempt to avoid
 3   further infringing acts.” [SUF 31]. The Complaint alleges that OCM has “lost over
 4   $250,000 and the loss is ongoing.” [SUF 35].
 5        C. The Products at Issue Sold by Lin’s Waha Were Genuine and Were Not
 6
             Materially Different Than Those Sold By OCM

 7         As discussed above, Lin’s Waha purchases Chinese food and beverage
 8   products through its wholly-owned affiliate in China, Fujian, which then exports these
 9   Chinese food products to Lin’s Waha in the United States. [SUF 2]. Among those
10   Chinese food and beverage products purchased by Fujian are the Products at Issue.
11   Namely, on multiple occasions in 2018 and early 2019, Fujian purchased the Products
12   at Issue from two Chinese distributors, Fuqing Ni Biyun Trade Co., Ltd. (“Fuqing”)
13   and Guangzhou Futong Trade Co., Ltd. (“Guangzhou”). [SUF 10]. Both Fuqing and
14   Guangzhou are distributors of the Products at Issue for the two manufacturers of the
15   products, XPP and Lan Fong Yuen, which are also the registrants of the Trademarks
16   at Issue. [SUF 11]. The Products at Issue purchased by Fujian on behalf of Lin’s
17   Waha were genuine XPP and Lan Fong Yuen products, bearing genuine
18   XIANGPIAOPIAO, MECO, and LAN FONG YUEN Marks. [SUF 12]. When
19   Fujian purchases these products, they are sealed, and Fujian in no way alters the
20   contents, packaging or labeling of these products prior to their export to Lin’s Waha
21   in the United States. [SUF 13]. The Products at Issue purchased by Fujian and
22   exported to Lin’s Waha for sale in the United States are identical in appearance to
23   those same products sold by the manufacturers in China. [SUF 14]. When Lin’s
24   Waha receives the Products at Issue from Fujian in the United States, it also makes
25   no changes to the contents of the products, its packaging or to its labeling, with the
26   exception of adding an English-language sticker to the label as required by the FDA
27   Act (as the ingredient label is otherwise all in Chinese). [SUF 15]. This is because,
28   as discussed above, the consumers of these products in the United States can read

                                             4
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 13 of 34 Page ID #:187




 1   Chinese, are familiar with the Products at Issue, and aware of what they are
 2   purchasing. [SUF 16].
 3         Not only are the Products at Issue sold by Lin’s Waha in the United States
 4   identical to those same products sold by XPP and Lan Fong Yuen in China, but they
 5   are also identical to those Products at Issue sold by OCM in the United States. [SUF
 6   17]. The alleged “Distributor Agreement” between OCM and XPP, produced by
 7   OCM in this action, makes clear that OCM purchases products manufactured by XPP
 8   in China in accordance with Chinese quality standards, just like Lin’s Waha did.
 9   [SUF 18 (Dist. Agrmt., section IV, no. 5 (“Party A’s [XPP] products are manufactured
10   in accordance with the quality standards of the PRC [People’s Republic of China] and
11   can only be sold after passing inspections”)]. Just as Lin’s Waha does not make any
12   changes to the sealed products manufactured by XPP and Lan Fong Yuen in China,
13   OCM also admits that the products it sells come “directly from XPP in China,” and it
14   does not “change any content or packaging of the branded products at issue.” [SUF
15   19]. Thus, it is undisputed that OCM and Lin’s Waha are selling the same genuine
16   Products at Issue in the United States. [SUF 26]. Like Lin’s Waha, OCM also adds
17   an English-language sticker to the label of the Products at Issue as required by the
18   FDA Act. [SUF 20]. The fact that there are no differences in the labeling or
19   appearance of the Products at Issue sold by Lin’s Waha and OCM can be seen, for
20   example, by comparing the products as they are sold, for example [SUF 21]: 1
21                  OCM Product                              Lin’s Waha Product
22

23

24

25

26

27
     1
28    Attached as Exh. 9 to the Witkow Decl. is a Chart Showing a Side-by-Side Comparison of the
     Products at Issue sold by XPP/Lan Fong Yuen in China, on the one hand, and the OCM and Lin’s
     Waha’s products sold in the United States, on the5other hand.
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 14 of 34 Page ID #:188




 1

 2

 3

 4

 5

 6

 7   Indeed, when asked in discovery to produce any documents “reflecting or evidencing
 8   any differences between the packaging and/or contents of the products sold by [OCM]
 9   and products sold by [Lin’s Waha] that [OCM] contend[s] infringe the Trademarks at
10   Issue,” OCM failed to identify any specific differences. [SUF 22]. Instead, OCM
11   responded that its “contention of infringement is based upon the facts that OCM
12   obtained the exclusive distributorship (in U.S.) of the brands at issue since 7/1/2018”
13   and, as such, Lin’s Waha’s mere “distribution of the products constituted
14   infringement.” [SUF 23]. While OCM also generally responded that its branded
15   products are manufactured by XPP for resale in the U.S. and Lin’s Waha’s products
16   are “produced/packaged for Chinese domestic consumption,” OCM did not identify
17   any purported differences between the Chinese and U.S. versions of the Products at
18   Issue. [SUF 24].
19         Indeed, Lin’s Waha is unaware of any incidents of actual consumer confusion
20   between the Products at Issue that it sells in the United States and those sold by OCM,
21   nor has OCM identified any incidents of consumer confusion with respect to the
22   Products at Issue. [SUF 25 & 26 (“OCM does not contend that consumers were
23   misled as to the products being counterfeit”)]. To the contrary, when asked in
24   discovery to produce documents reflecting any actual consumer confusion between
25   the Products at Issue sold by OCM and Lin’s Waha, OCM failed to produce any
26   documents and admitted that Lin’s Waha “purchased/sold genuine products”
27   (emphasis added). [SUF 26 (“It appears that LW purchased/sold genuine products
28   during the time when OCM has the exclusivity”)].

                                             6
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 15 of 34 Page ID #:189




 1        D. Lin’s Waha Ceased Distribution of the Products at Issue Following
 2
             OCM’s Cease and Desist Demands

 3         As stated above, on multiple occasions in 2018 and early 2019, Fujian
 4   purchased the Products at Issue from two Chinese distributors, Fuqing and
 5   Guangzhou on behalf of Lin’s Waha. [SUF 10]. Lin’s Waha began selling the
 6   Products at Issue in the United States on July 2, 2018. [SUF 27]. While Lin’s Waha
 7   was aware that the Products at Issue were being sold by other distributors in the
 8   United States, it was unaware of any alleged exclusive distributor agreement between
 9   the manufacturers of the Products at Issue (XPP and Lan Fong Yuen) and any
10   distributors in the United States. [SUF 28]. Indeed, as explained above, OCM did
11   not even enter into the purported Distribution Agreement with XPP until July 1, 2018.
12   [SUF 8]. In addition, it has always been Lin’s Waha’s understanding that its sale of
13   genuine products manufactured by XPP and Lan Fong Yuen does not violate
14   trademark rights. [SUF 29]. Lin’s Waha has never intended to deceive or confuse
15   consumers through the sale of the Products at Issue, and has not received any reports
16   of consumer confusion given that it is selling genuine products. [SUF 30].
17         In or about July 19, 2019, Lin’s Waha received a letter from OCM’s attorney
18   requesting that Lin’s Waha cease and desist from selling or offering to sell the nine
19   Products at Issue. [SUF 31]. While Lin’s Waha believed its sale of the Products at
20   Issue to be lawful, in response to this letter, Lin’s Waha voluntarily stopped selling
21   the Products at Issue. [SUF 32]. Lin’s Waha’s last sale of the Products at Issue in
22   the United States was on October 28, 2019, reflecting a short three-month period in
23   which Lin’s Waha sold off its limited remaining inventory. [SUF 33]. Indeed, when
24   asked in discovery to produce any documents evidencing purported willful
25   infringement, OCM identified only its July 19, 2019 cease and desist letter and
26   vaguely claimed that Lin’s Waha “continued to infringe violate [sic] the trademark’s
27   and OCM’s exclusive right.” [SUF 34].
28        E. OCM Has Failed to Produce Any Evidence Supporting its Claim for
             Damages for Trademark Infringement.
                                             7
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 16 of 34 Page ID #:190




 1        In its Complaint, OCM alleges, with no explanation or supporting facts, that it
 2   has “estimated that it lost over $250,000 and the lost [sic] is ongoing.” [SUF 35].
 3   However, OCM’s allegation regarding an “estimated $250,000” is directly
 4   contradicted by its Federal Rule of Civil Procedure 26(a) disclosure as to its
 5   “computation of each category of damages” claimed by OCM. Specifically, in its
 6   “Supplemental Disclosure,” OCM disclosed that it was seeking “damages in the form
 7   of lost profit [sic] as shown herein in OCM-0001 through OCM-0006, based upon the
 8   sales quantity of the nine (9) items sold by Lin’s Waha.” [SUF 36]. Plaintiff’s
 9   Supplemental Disclosure further claims an amount of purported “lost profit damages”
10   of $82,666.59, which is based on Lin’s Waha’s total sales volume, but OCM’s profit
11   margin, not Lin’s Waha’s profit margin. [SUF 37].
12        Namely, Lin’s Waha produced a sales document demonstrating that it sold a
13   total of 5,361 units of the nine products at issue in 2018 and 2019, and generated
14   profits on those products of a total of $24,846.73. [SUF 38]. OCM claims that it is
15   entitled to base its lost profits damages calculation on Lin’s Waha’s sales, but because
16   it obtained a better profit margin on the nine Products at Issue, it’s total amount of
17   lost profits are $82,666.59, as opposed to Lin’s Waha’s actual profits on the same
18   amount of sales of $24,846.73. [SUF 39].
19         Finally, as support for its damages calculation, OCM’s Supplemental
20   Disclosure identified OCM’s “true and correct purchases and sales invoices for the 9
21   items at issue,” as documents produced as bates numbers OCM-0003 through OCM-
22   0006. [SUF 40]. These purchases and sales invoices reflect the following sales of the
23   Products at Issue by OCM:
24    • Total sales of $54.00 for XPP Meco Milk Tea and XPP Lan Fong Yuen Milk
25        Tea on 9/19/2018 to Greatwall Supermarket-Monterey Park, CA;
26    • Total sales of $88.00 for XPP Milk Tea Strawberry, XPP Milk Tea Taro, XPP
27        Milk Tea Barley, XPP Milk Tea Original on 5/2/2020 to Eugene Asian Market,
28        Eugene, Oregon;
                                             8
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 17 of 34 Page ID #:191




 1    • Total sales of $30.00 for Lan Fong Yuen Milk Tea on 1/8/2020 to Caryee
 2       Group, Lake Forest, California;
 3    • Total sales of $60.00 for XPP Meco Peach & Pink Grapefruit Tea, XPP Meco
 4       Thai Lime Tea on 2/17/19 to 528 Club, [unknown], California. [SUF 41].
 5   Despite being requested to produce all invoices supporting its sales of the Products at
 6   Issue, these four invoices are the only sales invoices OCM has produced in discovery,
 7   and OCM has never further supplemented its Rule 26(a) Disclosures. [SUF 42].
 8   Lin’s Waha has never sold the Products at Issue to the four customers identified above
 9   [SUF 43]. Indeed, as reflected in sales information produced by Lin’s Waha, during
10   the 15 month time period that Lin’s Waha sold the Products at Issue in the United
11   States, the majority of its sales of the Products at Issue were outside of California.
12   [SUF 44]. Lin’s Waha sold the Products at Issue to only one customer in California
13   (in Cupertino, California, which is in Northern California, unlike OCM’s customers
14   in Southern California). [SUF 45].
15         During discovery, OCM also produced two form, fill-in-the-blank
16   “Declarations”, which purport to be signed by the “CEO” of two supermarkets in
17   Flushing, New York: Skyfoods and Gold City Supermarket. [SUF 46]. These
18   “Declarations” state that these two supermarkets have purchased products
19   manufactured by XPP, including MECO, XIANGPIAOPIAO, and LAN FONG
20   YUEN branded products “exclusively from OCM” since September 2018. [SUF 47].
21   Despite the statements set forth in these Declarations, OCM has never produced
22   invoices reflecting any sales to Skyfoods or Gold City Supermarket, including the
23   particular products sold or the volume of any such sales. [SUF 48]. The sales
24   information produced by Lin’s Waha does indicate that Lin’s Waha sold a minimal
25   amount of the Products at Issue to these two supermarkets during the relevant time
26   period, i.e., $3,480 total sales to SkyFoods and $700 to Gold City Market. [SUF 49].
27   Aside from the “Declarations” purportedly signed by these two supermarkets, OCM
28   has produced no evidence of any overlap between its customers and Lin’s Waha’s
                                             9
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 18 of 34 Page ID #:192




 1   customers. [SUF 50]. Nor has OCM produced any evidence of any sales it has lost
 2   from any current or potential customers as a result of Lin’s Waha’s sales. [SUF 51].
 3   Moreover, OCM has produced no evidence whatsoever that it has penetrated the
 4   market in the vast majority of states in which Lin’s Waha sold the Products at Issue,
 5   namely: Michigan, Pennsylvania, Indiana, Massachusetts, Alabama, Florida, Illinois,
 6   New Jersey, Nebraska, Ohio, Wisconsin, Kansas, Georgia, and Louisiana. [SUF 52].
 7         Finally, when asked in discovery for all documents supporting its original
 8   allegation of estimated damages of $250,000, OCM produced no documents, instead
 9   only responding that “[a]ny of the sales of the branded products by [Lin’s Waha] after
10   7/1/2018 caused loss of revenue and goodwill to [OCM]. [OCM] currently has no
11   expert opinion(s) to evaluate loss of goodwill and revenue.” [SUF 53]. To date, other
12   than conclusory assertions, OCM has produced no documents reflecting any actual
13   loss of revenue and/or goodwill as a result of Lin’s Waha’s alleged actions. [SUF 54
14   Witkow Decl., ¶ 8].2
15   III. SUMMARY JUDGMENT/ADJUDICATION IS WARRANTED.
16        Summary judgment is appropriate where the record shows no genuine issue of
17   material fact and that defendant is entitled to judgment as a matter of law. FED. R.
18   CIV. P. 56. Rule 56 “mandates the entry of summary judgment . . . against any party
19   who fails to make a showing sufficient to establish the existence of an element
20   essential to that party’s case . . .” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
21   The moving party has the initial burden of informing the Court of the basis for its
22   motion and identifying those portions of the pleadings and evidence that demonstrate
23   the absence of a genuine issue of material fact. Id. at 322. If the nonmovant bears the
24

25
     2
        OCM has produced three other short generic Excel spreadsheets, without any
26   supporting invoices or other backup, that purport to reflect sales of the products at
27   issue to seven (7) other customers; however, these unsupported spreadsheets reflect
     sales either outside the relevant infringement period (July 2018 – October 2019)
28   and/or relate to supermarkets where Lin’s Waha has no sales. Further, they do not
     evidence any loss of sales as a result of Lin’s
                                                10 Waha’s alleged actions.
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 19 of 34 Page ID #:193




 1   burden of proof at trial, as is the case with OCM’s claims, the moving party’s burden
 2   on summary judgment is discharged by “pointing out to the district court that there is
 3   an absence of evidence to support the nonmoving party’s case.” Id. at 325. In
 4   response, the party opposing summary judgment must be able to designate “specific
 5   facts showing that there is a genuine issue for trial.” Id. at 323-24; Fed. R. Civ. P.
 6   56(e). Where the responding party has nothing but conclusory and speculative
 7   allegations with no competent relevant evidence to back them up, summary judgment
 8   is appropriate. See Gasaway v. Northwestern Mut. Life Ins. Co., 26 F.3d 957, 960 (9th
 9   Cir. 1994) (defendant entitled to summary judgment where plaintiff did no more than
10   argue that defendants’ evidence should be disregarded).
11   IV. LEGAL ARGUMENT
12        A.     OCM’s Trademark Infringement Claim is Barred By the First Sale
13
                 Doctrine.

14         An action for trademark infringement under § 32 of the Lanham Act (15 U.S.C.
15   § 1114) arises when “[a]ny person ... without the consent of the registrant ... use[s] in
16   commerce any reproduction, counterfeit, copy, or colorable imitation of a registered
17   mark in connection with the sale, offering for sale, distribution, or advertising of any
18   goods ... in connection with such use [which] is likely to cause confusion.” Summit
19   Tech., Inc. v. High-Line Med. Instr. Co., Inc. 922 F. Supp. 299, 307 (C.D. Cal. 1996).
20   The “touchstone” of liability under § 32 is, of course, the “likelihood of confusion as
21   to the source of the goods.” Id. (citing E. & J. Gallo Winery v. Gallo Cattle Co., 967
22   F.2d 1280, 1290 (9th Cir.1992); see also Beltronics USA, Inc. v. Midwest Inventory
23   Dist., LLC 562 F.3d 1067, 1071 (10th Cir. 2009) (“the central inquiry in a trademark
24   infringement case is the likelihood of consumer confusion”).
25         Those who resell genuine trademarked products are generally not liable for
26   trademark infringement. See NEC Elecs. v. CAL Circuit Abco, 810 F.2d 1506, 1509
27   (9th Cir. 1987); Davidoff & CIE, S.A. v. PLD Int'l Corp., 263 F. 3d 1297, 1301 (11th
28   Cir. 2001); Summit Tech., 922 F. Supp. at 307 (“[a]n action will not arise where the

                                              11
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 20 of 34 Page ID #:194




 1   goods being sold are genuine goods bearing a true mark”) (citing Polymer Tech. Corp.
 2   v. Mimran, 37 F.3d 74, 78 (2d Cir.1994)). “Additionally, trademark law generally
 3   does not reach the sale of genuine goods bearing a true mark even though such sale is
 4   without the mark owner’s consent.” Summit Tech., 922 F. Supp. at 307 (citing NEC,
 5   810 F.2d at 1509). “The reason is that trademark law is designed to prevent sellers
 6   from confusing or deceiving consumers about the origin or make of a product, which
 7   confusion ordinarily does not exist when a genuine article bearing a true mark is
 8   sold.” NEC, 810 F.2d at 1509 (emphasis added); see also U.S. v. Giles, 213 F.3d 1247,
 9   1252 (10th Cir. 2000) (“‘[T]he purpose of trademark law is ... to guarantee that every
10   item sold under a trademark is the genuine trademarked product, and not a
11   substitute.’”); Iberia Foods Corp. v. Romero, 150 F.3d 298, 303 (3d Cir. 1998)
12   (“[a]lthough consumers may be unaware of the precise avenues that a given product
13   has traveled on its way to the supermarket shelf, the authentic trademark on the
14   alleged infringer’s goods is an accurate indicator of their nature and quality”).
15         Accordingly, under the First Sale Doctrine, “the right of a producer to control
16   distribution of its trademarked product does not extend beyond the first sale of the
17   product.” Summit Tech., 922 F. Supp. at 309 (citing Sebastian Int’l, Inc. v. Longs
18   Drug Stores Corp., 53 F.3d1073, 1074 (9th Cir. 1995). It logically follows that the
19   first sale doctrine is not applicable “when an alleged infringer sells trademarked goods
20   that are materially different than those sold by the trademark owner.” Id. (citing
21   Davidoff, 263 F.3d at 1302) (emphasis added); Monte Carlo Shirt, Inc. v. Daewoo
22   Intern. (America) Corp., 707 F.2d 1054, 1057 (9th Cir. 1983) (no likelihood of
23   confusion resulting from unauthorized sale of genuine Korean shirts in United States
24   that had in no way been altered or changed from date of manufacture to date of sale).
25   A materially different product is not genuine and may generate consumer confusion
26   about the source and the quality of the trademarked product. Beltronics USA, 562 F.3d
27   at 1072.    Importantly, however, “not all differences are material.” Id. Some
28   differences between products “prove so minimal that consumers who purchase the
                                             12
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 21 of 34 Page ID #:195




 1   alleged infringer's goods get precisely what they believed they were purchasing [and]
 2   consumers' perceptions of the trademarked goods are not likely to be affected by the
 3   alleged infringer's sales.” Beltronics USA, 562 F.3d at 1073 (citing Iberia Foods
 4   Corp., 150 F.3d at 303). A guiding principle in evaluating whether a difference
 5   between two products bearing the same trademark is material is whether the
 6   difference “confuses consumers and impinges on the ... trademark holder's goodwill.”
 7   Societe Des Produits Nestle, S.A. v. Casa Helvetia, Inc., 982 F.2d 633, 638 (1st Cir.
 8   1992). For this reason, the materiality analysis must be undertaken “on a case-by-
 9   case basis,” and must include “an examination of the products and markets at issue.”
10   Beltronics USA, 562 F.3d at 1073 (citing Nestle, 982 F.2d at 641). “Although no
11   mechanical process exists for determining the threshold for materiality, a difference
12   is material if ‘consumers [would] consider [it] relevant to a decision about whether to
13   purchase a product.’” Beltronics, 562 F.3d at 1073 (citing Davidoff, 263 F.3d at 1302).
14   For example, courts will find a “material difference” if the goods are “‘seconds’ of
15   inferior quality” or have been “taint[ed] ... by mishandling.” Henry v. Chloride, Inc.,
16   809 F.2d 1334, 1350 (8th Cir. 1987).
17         In Summit Tech, the U.S. manufacturer of medical laser systems, Summit,
18   alleged trademark infringement against a defendant that re-imported for use in the
19   U.S., genuine, used Summit systems manufactured in the U.S., but intended for
20   foreign use only. 922 F. Supp. at 302. Summit conceded that the re-imported foreign
21   systems that the defendant sold in the United States without its authorization bore the
22   genuine “Summit” trademark and had not been altered in any way between
23   manufacture and sale. Id. at 308. However, Summit argued that the re-imported
24   foreign Summit systems were not “genuine” Summit products because they differed
25   “materially” from the systems intended for U.S. use, including the fact that they were
26   not approved by the FDA and not subject to the same quality controls. Id. Summit
27   argued that consumers would be misled into believing that Summit authorized the
28   sale and use of these foreign systems in the United States. Id.
                                             13
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 22 of 34 Page ID #:196




 1         The district court disagreed with Summit, dismissing its trademark claims
 2   under Fed. R. Civ. P. 12(b)(6), finding that notwithstanding the differences between
 3   the foreign and domestic systems, the “essential fact remains that based on the
 4   allegations in the Complaint, the re-imported [foreign] laser systems are Summit
 5   products, manufactured and sold by Summit itself. Thus, consumers will not be
 6   confused as to whether the re-imported laser systems are ‘Summit’ systems–they are.
 7   There is no ‘likelihood of confusion as to the source of the goods,’ which, based on
 8   Plaintiff’s allegations, is Summit.” Id. at 308 (citations omitted). Thus, Summit
 9   concluded that under the Ninth Circuit’s holding in Sebastian Int’l, Inc. v. Longs Drug
10   Stores Corp., 53 F.3d 1073, 1074 (9th Cir. 1995), “Summit simply cannot use
11   trademark law to control the downstream distribution of products that Summit itself
12   manufactured and sold. The mere fact that Summit sold its goods abroad rather than
13   domestically does not create an exception to the ‘first sale’ doctrine.” Id. at 309
14   (emphasis in original). As the Ninth Circuit held, if Summit chooses to “manufacture
15   different goods for different countries, it cannot look to the Lanham Act to protect
16   its domestic market.” Id. (emphasis added) (citing NEC, 810 F.2d at 1511).
17         This Court’s ruling in Summit applies squarely to the instant case. Here, like
18   Summit, the Products at Issue sold by OCM and Lin’s Waha are manufactured in
19   China by the exact same entities: XPP and Lang Fong Yuen. [SUF 8, 10-12, 18-19].
20   They bear the same, genuine trademarks registered by these entities, and they are not
21   altered in any way between manufacture and sale in the U.S. [SUF 13-15, 17-21].
22   Thus, all of the Products at Issue – those sold by OCM and Lin’s Waha – are genuine
23   products. OCM admits that Lin’s Waha sells “genuine” products, and it admits that
24   both parties purchase those products from the manufacturers in China. [SUF 19, 23,
25   26 (“It appears that LW purchased/sold genuine products during the time when OCM
26   has the exclusivity”)]. There can be no likelihood of confusion as to the source of
27   these products, because the source is the same: XPP and Lang Fong Yuen in China.
28   Because Lin’s Waha is selling the same genuine products – manufactured by the exact
                                             14
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 23 of 34 Page ID #:197




 1   same entities – in the United States that OCM is selling, such actions are protected
 2   under the First Sale Doctrine and cannot constitute trademark infringement. Monte
 3   Carlo, 707 F.2d at 1057 (no likelihood of confusion resulting from unauthorized sale
 4   of genuine Korean shirts in United States that had in no way been altered or changed
 5   from date of manufacture to date of sale); Summit Tech, 922 F. Supp. at 309 (“Summit
 6   simply cannot use trademark law to control the downstream distribution of products
 7   that Summit itself manufactured and sold”). To the extent that OCM claims that their
 8   products somehow differ from those sold by Lin’s Waha because they are
 9   manufactured for consumption in the United States as opposed to consumption in
10   China, any such argument is entirely irrelevant to the likelihood of confusion analysis,
11   as explained above. Id. (holding that if Summit chooses to “manufacture different
12   goods for different countries, it cannot look to the Lanham Act to protect its domestic
13   market”) (emphasis added). Thus, even assuming XPP and Lang Fong Yuen sold
14   different goods in different markets, the “first sale” rule still applies to defeat any
15   claims of trademark infringement. Id.
16         This Court distinguished the facts in Summit Tech. from those in Nestle and
17   Original Appalachian, noting that unlike those cases, Summit Tech. was “not a ‘gray
18   market’ goods case.” Id. Specifically:
19     [u]nlike the typical ‘gray market’ situation, all the ‘Summit’ products at issue
20
       are manufactured and distributed by Summit itself. The new and used Summit
       products are thus not ‘parallel’ products — they are all ‘genuine’ Summit-
21     made products. Accordingly, there is no danger that consumers are likely to be
22     confused as to the source of the Summit laser systems – the main concern of
       trademark law. On the face of the Complaint, Summit admits that all of the
23     laser systems in question are manufactured and distributed by Summit itself, not
24     by any foreign manufacturer . . . they are all genuine Summit manufactured
       products – none are ‘gray market’ goods. 922 F. Supp. at 310 (emphasis added).
25

26   Just as in Summit, all of the products at issue, those sold by OCM and those sold by

27   Lin’s Waha, are manufactured and distributed by the same manufacturers (XPP and

28

                                             15
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 24 of 34 Page ID #:198




 1   Lang Fong Yuen) who are the registrants of the trademarks at issue; thus, they are all
 2   “genuine” and there is no likelihood of confusion. [SUF 7, 8, 10, 13-15, 17-21, 26].
 3         While the undisputed facts demonstrate that the Products at Issue derive from
 4   the same manufacturer, even if they did not, Lin’s Waha would still not be liable for
 5   trademark infringement because there are no “material differences” between the
 6   Products at Issue. Even when the products derive from different manufacturers
 7   (which is not the case here), there can be no likelihood of consumer confusion when
 8   any differences between the products are not relevant to the consumer’s decision
 9   about whether to purchase the product. See e.g., Iberia, 150 F.3d at 306 (directing
10   district court to enter summary judgment for defendant on trademark infringement
11   claim based on finding of “no material difference” between products at issue); Coty
12   Inc. v. Cosmopolitan Cosmetics Inc., 432 F. Supp. 3d 345, 351-52 (S.D.N.Y. 2020)
13   (granting motion to dismiss trademark infringement claim given lack of allegations
14   of “material differences” between products at issue); Graham Webb Intern. Ltd.
15   Partnership v. Emporium Drug Mart, Inc., 916 F. Supp. 909, 916 (E.D. Ark. 1995)
16   (granting summary judgment for defendant after finding no “material difference
17   between the products sufficient to create a likelihood of consumer confusion”).
18         For example, Iberia concerned the sale of Mistolin brand household cleaners,
19   which were manufactured exclusively in Puerto Rico by Mistolin Caribe. 150 F.3d
20   at 299. The plaintiff, Iberia, entered into an agreement with Mistolin Caribe to serve
21   as the exclusive distributor of Mistolin products in the United States. Id. at 300. The
22   defendant, Rol-Rom Foods, purchased Mistolin products on the open market in Puerto
23   Rico and then sold them in New York and New Jersey in competition with Iberia. Id.
24   Iberia then initiated a trademark infringement action against Rol-Rom, and both
25   parties moved for summary judgment. Id. The Third Circuit concluded that there
26   was no “material difference between the Mistolin sold by Iberia and that sold by Rol-
27   Rom,” thus, “the Mistolin sold by Rol-Rom is ‘genuine’ and [] Iberia’s attempt to use
28   § 32 of the Lanham Act to block Rol-Rom’s sales must fail. Because buyers of Rol-
                                             16
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 25 of 34 Page ID #:199




 1   Rom’s Mistolin get precisely what they believe they are purchasing…the goodwill
 2   associated with Mistolin products is not harmed by Rol-Rom’s sales.” Id. at 306.
 3         Just as in Iberia, there are no “material differences” between the Products at
 4   Issue in this case sold by Lin’s Waha and OCM. While OCM claims to be the
 5   “exclusive distributor” of XIANGPAIOPAIO, MECO, and LANG FONG YUEN
 6   products in the United States – as Iberia was for Mistolin, Lin’s Waha purchased
 7   genuine XIANGPAIOPAIO, MECO, and LANG FONG YUEN products on the open
 8   market in China – as Rol-Rom did in Puerto Rico. [SUF 10-12]. As explained in
 9   Section II.C above, there are no “material differences” between the Products at Issue,
10   and purchasers of Lin’s Waha’s XIANGPAIOPAIO, MECO, and LANG FONG
11   YUEN products get “precisely what they believe they are purchasing.” [SUF 12-15].
12   Indeed, when asked in discovery to produce any documents “reflecting or evidencing
13   any differences between the packaging and/or contents of the products sold by [OCM]
14   and products sold by [Lin’s Waha] that [OCM] contend[s] infringe the Trademarks at
15   Issue,” OCM failed to identify any specific differences. [SUF 22]. Instead, OCM
16   responded only that its “contention of infringement is based upon the facts that OCM
17   obtained the exclusive distributorship (in U.S.) of the brands at issue since 7/1/2018”
18   and, as such, Lin’s Waha’s “distribution of the products constituted infringement.”
19   [SUF 23]. However, regardless of OCM’s alleged status as an “exclusive distributor,”
20   if there is no likelihood of consumer confusion (which there is not here), there is no
21   trademark infringement. While OCM also responded that its branded products are
22   manufactured by XPP for resale in the U.S. and Lin’s Waha’s products are
23   “produced/packaged for Chinese domestic consumption”, OCM did not identify any
24   purported differences between the Chinese and U.S. versions. [SUF 24].
25         Again, this is not a situation where the parties’ respective Products at Issue are
26   manufactured by different entities in different parts of the world and, as a result differ
27   in quality and/or appearance, i.e., “gray market goods”. For example, in Nestle, the
28   First Circuit found infringement because the Venezuelan manufactured chocolates
                                              17
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 26 of 34 Page ID #:200




 1   differed materially from the “Perugina” chocolates manufactured in Italy and
 2   authorized for the U.S. market. See Nestle, 982 F.2d 633, 643-44 (1st Cir. 1992).
 3   Similarly, in Original Appalachian Artworks v. Granada Elec., 816 F.2d 68 (2d Cir.
 4   1987), the Second Circuit found infringement when Spanish made “Cabbage Patch”
 5   dolls were imported into the United States and differed materially from their U.S.
 6   made counterparts. Here, it is undisputed that the Products at Issue sold by Lin’s
 7   Waha are “genuine” products manufactured by XPP and Lang Fong Yuen in China,
 8   just like OCM’s products [SUF 26]; thus, there can be no likelihood of confusion and
 9   OCM’s claim for trademark infringement fails as a matter of law.
10        B.     Given That OCM Cannot Prevail on its Claim for Trademark
11
                 Infringement, Summary Judgment is Also Warranted on its Claim
                 for Common Law Unfair Competition.
12
           “The standard for Lanham Act trademark infringement is the same as for
13
     Lanham Act unfair competition and California state claims for trademark
14
     infringement and unfair competition.” Luxottica Group, S.p.A. v. Eye Story, Inc., 2020
15
     WL 2404913, at *3 (C.D. Cal. May 11, 2020); Glow Indus., Inc. v. Lopez, 252 F.
16
     Supp. 2d 962, 975 (C.D. Cal. 2002) (“The elements of [California] state claims for
17
     trademark infringement and unfair competition are substantially similar to those of
18
     comparable federal claims”); Cleary v. News Corp., 30 F.3d 1255, 1262–63 (9th
19
     Cir.1994) (“state common law claims of unfair competition and actions pursuant to
20
     California Business and Professions Code § 17200 are ‘substantially congruent’ to
21
     claims made under the Lanham Act.”); Mallard Creek Indus., Inc. v. Morgan, 56 Cal.
22
     App.4th 426, 438 (1997) (“The ultimate test for unfair competition is exactly the same
23
     as for trademark infringement: whether the public is likely to be deceived or confused
24
     by the similarity of the marks”).
25
           Here, the Complaint generically alleges a claim for “Unfair Competition” in
26
     addition to a trademark infringement claim. Whether this claim is premised on the
27
     federal Lanham Act or California state law it is clear that the claim expressly relies
28
     on OCM’s allegations of trademark infringement. [SUF 55]. As discussed in section
                                             18
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 27 of 34 Page ID #:201




 1   III.A, infra, Count One for trademark infringement should be dismissed as a matter
 2   of law because Lin’s Waha sale of genuine goods is protected under the First Sale
 3   Doctrine. Accordingly, because summary judgment is warranted on Plaintiff's
 4   trademark infringement claim, it is also justified on Plaintiff’s unfair competition
 5   claims, which is expressly predicated on purported trademark infringement. See
 6   Conversive, Inc. v. Conversagent, Inc., 433 F. Supp.2d 1079, 1093-94 (C.D. Cal.
 7   2006) (granting summary judgment on federal unfair competition and California
 8   common law unfair competition and 17200 claims as federal trademark claim fails)
 9   (citing Brookfield Comm., Inc. v. West Coast Ent. Corp., 174 F.3d 1036, 1044 (9th
10   Cir. 1999); Adaptive Marketing LLC v. Girard Gibbs LLP, 2009 WL 8464168, at *5
11   (C.D. Cal. Oct. 9, 2009) (dismissing collateral California state law unfair competition
12   claims as federal trademark claim was dismissed and analysis is the same).
13        C.     To the Extent Plaintiff’s Claims Survive, Summary Judgment Should
14
                 Be Granted Against OCM On Its Claim for Monetary Damages.

15         Section 35 of the Lanham Act, 15 U.S.C. § 1117(a), governs the award of
16   monetary remedies in both trademark infringement and unfair competition claims,
17   and provides for an award of Defendant’s profits, any damages sustained by Plaintiff,
18   and the costs of the action. An award of damages or profits “shall constitute
19   compensation and not a penalty.” 15 U.S.C. § 1117(a). Here, as explained below,
20   OCM cannot provide evidence sufficient to create a triable issue of fact with respect
21   to either Lin’s Waha’s profits or its own actual damages; thus summary judgment on
22   the issue of any monetary remedy is appropriate.
23               1. There is No Triable Issue of Fact With Respect to Willfulness and,
24                  Therefore, OCM Cannot Recover Lin’s Waha’s Profits.
25         In the Ninth Circuit, a plaintiff seeking disgorgement of a defendant's profits
26   in a trademark infringement case must demonstrate that the defendant willfully
27   infringed the mark. See e.g., Sansi North America, LLC v. LG Elec. USA, Inc., 2019
28   WL 8168069, at *6–10 (C.D. Cal. Nov. 14, 2019) (citing Stone Creek, Inc. v. Omnia
                                             19
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 28 of 34 Page ID #:202




 1   Italian Design, Inc., 875 F.3d 426, 440 (9th Cir. 2017); see also George Basch Co.,
 2   Inc. v. Blue Coral, Inc., 968 F.2d 1532, 1540 (2d Cir. 1992) (to recover profits under
 3   § 1117(a), the “plaintiff must prove that an infringer acted with willful deception”).
 4   “Willfulness requires some showing of a ‘connection between a defendant's
 5   awareness of its competitors and its actions at those competitors' expense.’” Id.
 6   “[E]quity dictates that the plaintiff must show that the defendant's infringing acts were
 7   accompanied by some form of intent.” Sansi, 2019 WL 8168069, at *6 (citing Stone
 8   Creek, 875 F.3d at 440; Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1405–06 (9th
 9   Cir. 1993)). “Willful infringement carries a connotation of deliberate intent to
10   deceive.” Lindy Pen Co., 982 F.2d at 1406. “Courts generally apply forceful labels
11   such as ‘deliberate,’ false,’ ‘misleading,’ or ‘fraudulent’ to conduct that meets this
12   standard.” Id. “Only deliberate conduct will satisfy this standard; mere negligence
13   will not.” Govino LLC v. Goverre, Inc., 2018 WL 7348849, at *5 (C.D. Cal. Nov. 20,
14   2018). Further, “[i]nfringement is not willful if the party reasonably believes that its
15   usage of a trademark is not barred by law.” See San Miguel Pure Foods Co., Inc. v.
16   Ramar Inter. Corp., 625 F. App'x 322, 325 (9th Cir. 2015).
17         Courts have granted summary judgment against a plaintiff's request for
18   disgorgement when the plaintiff has failed to raise a genuine dispute about
19   willfulness. Sansi, 2019 WL 8168069, at *7 (citing Hydramedia Corp. v. Hydra
20   Media Grp. Inc., 392 F. App'x 522, 523 (9th Cir. 2010) (district court did not err in
21   granting summary judgment as to willfulness and profits where the defendant was not
22   trading off plaintiff's name and “there was no evidence that it sought to mislead
23   consumers or usurp any goodwill associated with Plaintiff's mark”); Spin Master, Ltd.
24   v. Zobmondo Entm't, LLC, 944 F. Supp. 2d 830, 849 (C.D. Cal. 2012) (summary
25   judgment appropriate because plaintiffs had not raised a genuine dispute over
26   willfulness for disgorgement purposes, because no evidence of “an intent to trade on
27   Plaintiffs' established name”); Amer. Auto. Assoc. (“AAA”) of Northern Calif.,
28   Nevada & Utah v. General Motors LLC, 367 F.Supp.3d 1072, 1102–1108 (N.D. Cal.
                                              20
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 29 of 34 Page ID #:203




 1   2019) (finding plaintiff “fails to demonstrate the existence of a genuine issue of
 2   material fact as to willfulness”, granting defendant’s motion for summary judgment
 3   on willfulness, and holding plaintiff “cannot disgorge [defendant’s] profits”).
 4         Here, as explained above, Plaintiff’s Rule 26(e) Supplemental Disclosure
 5   identifies that OCM seeks monetary damages in the form of “lost profits” based on
 6   Lin’s Waha’s total sales. [SUF 36]. While Plaintiff seeks to apply its own “Cost of
 7   Goods Sold,” claiming that its own profit margin would have been greater than Lin’s
 8   Waha’s, any attempt by OCM to disgorge Lin’s Waha’s profits (or an amount even
 9   greater than Lin’s Waha’s profits) must fail, as OCM cannot create a triable issue of
10   fact as to willfulness, as required under Ninth Circuit law. Namely, in discovery,
11   OCM made clear that its claim of willfulness is based solely on the following single
12   allegation: “Plaintiff sent notice letter in July, 2019. [Lin’s Waha] continued to
13   infringe violate [sic] the trademarks and OCM’s exclusive right.” [SUF 34].
14         This allegation is patently insufficient to create a triable issue of fact as to
15   willfulness. First, even if this baseless allegation were supported by any actual
16   evidence – which it is not – “the failure to stop using a mark after receiving a cease
17   and desist letter does not show willful infringement and is not necessarily indicative
18   of bad faith.” Groupion, LLC v. Groupon, Inc., 826 F.Supp.2d 1156, 1165 (N.D. Cal.
19   2011); see also AAA, 367 F.Supp.3d at 1104. Second, it is undisputed that after
20   receiving the July 19, 2019 cease and desist letter, Lin’s Waha terminated the
21   purchase of additional products, and sold off its remaining inventory by October
22   2019, only three months after receiving the cease and desist letter. [SUF 32-33].
23   Further, Lin’s Waha has provided evidence that while Lin’s Waha was aware that the
24   Products at Issue were being sold by other distributors in the United States, it was
25   unaware of any alleged exclusive distributor agreement between the manufacturers of
26   the Products at Issue (XPP and Lan Fong Yuen) and any distributors in the United
27   States. [SUF 28]. OCM entered into the purported exclusive distribution agreement
28   only one day before Lin’s Waha began selling the Products at Issue in the United
                                             21
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 30 of 34 Page ID #:204




 1   States. [SUF 8, 23 & 27]. Lin’s Waha has never intended to deceive or confuse
 2   consumers through the sale of the Products at Issue, and has not received any reports
 3   of consumer confusion given that it is selling genuine products manufactured and sold
 4   by XPP and Lan Fong Yuen. [SUF 26, 30]. In addition, it has always been Lin’s
 5   Waha’s understanding that its sale of genuine products manufactured by XPP and Lan
 6   Fong Yuen does not violate any trademark rights on the basis of the First Sale
 7   Doctrine [SUF 29]. San Miguel, 625 F. App'x at 325 (“[i]nfringement is not willful
 8   if the party reasonably believes that its usage of a trademark is not barred by law”).
 9   Put simply, OCM has not and cannot provide evidence of any intent on the part of
10   Lin’s Waha that would create a triable issue of fact on the issue of willfulness; thus,
11   summary judgment is warranted and OCM cannot recover damages in the form of
12   disgorgement of Lin’s Waha’s profits.3 Moa Moa, Inc. v. New Moa Collection, 2019
13   WL 8112468, at *12–13 (C.D. Cal. Aug. 30, 2019) (granting summary judgment on
14   willfulness and disgorgement of profits based on lack of evidence provided by
15   plaintiff); Groupion, LLC, 859 F.Supp.2d at 1081–82 (granting summary judgment
16   on plaintiff's request for defendant's profits where plaintiff failed to submit any
17   evidence of willful infringement); Blau, 2004 WL 5313967, at *6 (granting summary
18   judgment on profits when plaintiff did not provide “sufficient evidence to raise a
19   triable issue of fact as to whether [d]efendants willfully infringed [p]laintiff's mark”),
20   aff'd, 129 F. App'x 385 (9th Cir. 2005).
21                2. There is No Triable Issue of Fact With Respect to OCM’s Actual
22
                     Damages.

23

24
     3
       Even when the First Sale Doctrine does not apply, which it does here, it is difficult to
25   establish willfulness when the products at issue bear legitimate trademarks. See e.g.,
26   Ferrero U.S.A., Inc. v. Ozak Trading, Inc., 952 F.2d 44, 48-50 (3d Cir. 1991), abrogated on
     other grounds by Fair Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 314, 318 (3d Cir. 2014)
27   (holding that the court was “not presented with a case where a defendant has imitated the
     plaintiff's trademark in order to free ride on the good will built up by the plaintiff”—rather,
28
     the products “legitimately bore the trademarks” of plaintiff's affiliate and “were affixed with
     the approval of that ... affiliate”).           22
                                 MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 31 of 34 Page ID #:205




 1          To recover actual damages in a trademark infringement case, a plaintiff must
 2   prove “the fact and the amount of damage” AAA, 367 F.Supp.3d at 1105. “Damages
 3   are typically measured by any direct injury which a plaintiff can prove, as well as any
 4   lost   profits   which     the   plaintiff   would     have     earned    but    for   the
 5   infringement.” Id. Compensatory damages must be established with “reasonable
 6   certainty” and not be based on speculation or conjecture. McClaran v. Plastic Indus.,
 7   Inc., 97 F.3d 347, 361 (9th Cir. 1996). The Ninth Circuit has recognized that claims
 8   for actual damages under the Lanham Act may be properly disposed of on summary
 9   judgment. See Comm. for Idaho's High Desert, Inc. v. Yost, 92 F.3d 814, 823 (9th Cir.
10   1996) (district court was correct to grant summary judgment on damages in trademark
11   case because plaintiff failed to create a genuine issue of material fact as to its actual
12   damages); see also Strike It Rich, Inc. v. Joseph Schlitz Brewing Co., 505 F. Supp. 89,
13   91 (D.D.C. 1980) (finding that defendant's partial MSJ should be granted in service
14   mark infringement case when the plaintiff repeatedly “failed to provide this Court or
15   defendant with any proof of damage that could be tested or studied”).
16          Here, OCM has failed to identify any measurable loss to establish actual
17   damages as a result of Lin’s Waha’s alleged infringement. OCM has not provided
18   any evidence of lost sales or lost customers as a result of Lin’s Waha’s sales of the
19   Products at Issue. Indeed, when asked in discovery for all documents supporting its
20   original allegation of estimated damages of $250,000, OCM produced no documents,
21   instead providing only the vague response that “[a]ny of the sales of the branded
22   products by [Lin’s Waha] after 7/1/2018 caused loss of revenue and goodwill to
23   [OCM]. [OCM] currently has no expert opinion(s) to evaluate loss of goodwill and
24   revenue.” [SUF 53]. Aside from this conclusory statement, OCM has produced no
25   evidence of loss of revenue or goodwill [SUF 54], and unsupported allegations of
26   “loss of revenue” or “loss of goodwill” are insufficient to create a triable issue of fact.
27          As explained above, “[c]ompensatory damages must be established with
28   ‘reasonable certainty’ and not be based on speculation or conjecture.” AAA, 367
                                              23
                                MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 32 of 34 Page ID #:206




 1   F.Supp.3d at 1105. A conclusory assertion or “belief” that a plaintiff has been harmed
 2   by the defendant’s alleged infringement is simply not sufficient to avoid summary
 3   judgment. Id. at 1107 (rejecting “conclusory statements” regarding damage that were
 4   “not supported by detailed facts or evidentiary support”). Here, OCM has provided
 5   nothing more than “conclusory” claims regarding its purported “loss of revenue and
 6   goodwill”; thus, summary judgment on actual damages is warranted. See e.g., Blau,
 7   2004 WL 5313967, at *4, *7 (granting summary judgment in trademark infringement
 8   case on the issue of actual damages where plaintiff and its witnesses were unable to
 9   identify specific accounts or customers that were lost due to defendants' alleged
10   infringement); Groupion, LLC, 859 F.Supp.2d at 1081 (granting summary judgment
11   where plaintiff had “no evidence of any actual damages incurred”). Finally, it is not
12   enough for OCM to simply assume that “but for” Lin’s Waha’s alleged infringement,
13   it would have sold the same amount of the Products at Issue that Lin’s Waha sold to
14   the same customers, especially given that there is only the slightest of overlap
15   between the parties’ customers, and OCM has produced no evidence that it has ever
16   operated in the majority of the states where Lin’s Waha sold the Products at Issue
17   [SUF 52]. See e.g., The Apollo Theater Found., Inc. v. Western Inter.
18   Syndication, 2005 WL 1041141, at *11 (S.D.N.Y. 2005) (holding “[a]lthough a court
19   may engage in ‘some degree of speculation,’ a plaintiff must establish
20   its lost profits with specificity”).
21          Finally, while some district courts have held that as an alternative to
22   establishing its own actual damages, a plaintiff can attempt to recover the defendant’s
23   profits, that option is not available to OCM here. Namely, in order to substitute a
24   defendant's profits as a measure of damages, the plaintiff must demonstrate (1) that
25   the plaintiff and defendant are in direct competition, and (2) that the plaintiff suffered
26   an actual loss due to the defendant's infringing conduct. tagTrends, Inc. v. Nordstrom,
27   Inc., 2014 WL 12561604, at *6 (C.D. Cal. Sept. 30, 2014). However, if a plaintiff
28   fails to present “competent evidence of losses suffered by [the plaintiff] as a result of
                                               24
                                 MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 33 of 34 Page ID #:207




 1   [the defendant’s] conduct”, there is no genuine issue of material fact and summary
 2   judgment is appropriate as to such damages. Id. Here, as explained above, OCM has
 3   provided no “competent evidence” of any losses it has sustained as a result of Lin’s
 4   Waha’s actions. Furthermore, as explained above, the undisputed facts establish that
 5   the vast majority of Lin’s Waha’s customers are in states in which OCM has produced
 6   zero evidence of sales. [SUF 52]. Thus, OCM and Lin’s Waha cannot be considered
 7   “direct competitors” if they do not operate in the same market. See e.g., JIPC
 8   Management, Inc. v. Incredible Pizza Co., Inc., 2009 WL 10671438, at *14–16 (C.D.
 9   Cal. June 24, 2009) (holding that plaintiff JIPC “cannot claim lost profits in states in
10   which it does not operate. Further, because it is not possible that consumer confusion
11   has occurred in states where JIPC's mark has not penetrated, JIPC cannot demonstrate
12   that it has suffered compensable loss of goodwill or reputation in such states”); Blau,
13   2004 WL 5313967 at *5 (holding that summary judgment on defendant’s profits as a
14   measure of plaintiff’s damages was appropriate given that defendant and plaintiff did
15   not market and sell to the same stores and, thus, were not direct competitors). Because
16   OCM has failed to provide “sufficient evidence to raise triable issues of fact” as to
17   whether OCM suffered any “actual loss” due to Lin’s Waha’s alleged infringement
18   and whether the parties are in “direct competition,” summary judgment on the issue
19   of OCM’s lost profits as a substitute for plaintiff’s damages is proper.
20   V.   CONCLUSION
21         Lin’s Waha respectfully requests that the Court grant summary judgment on
22   both claims contained in OCM’s Complaint. In the alternative, LCC respectfully
23   requests that this Court grant summary judgment on OCM’s claims for actual
24   damages and disgorgement of Lin’s Waha’s profits.
25   Dated: January 28, 2021                      Respectfully submitted,
26
                                                  witkow | baskin
27

28                                                By: /s/ Brandon J. Witkow
                                                  Brandon J. Witkow
                                             25
                               MOTION FOR SUMMARY JUDGMENT
Case 2:19-cv-08917-SB-KS Document 30 Filed 01/28/21 Page 34 of 34 Page ID #:208




 1

 2
                                             Attorneys for Defendant
                                             LIN’S WAHA INTERNATIONAL
 3                                           CORP.
 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          26
                            MOTION FOR SUMMARY JUDGMENT
